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lN THE UN|TED STATES D|STR|CT COURT
FOFi THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|S|ON

 

 

UN|TED STATES OF AMER|CA

P|aintiff

VS. CFi. NO. 03-20475-B

WlLL|A|\/l V|SOR.

Defendant.

 

ORDEFt ON CONTINUANCE AND SPEC|FY|NG PER!OD OF EXCLUDABLE DELAY
AND SETT|NG

 

`l'his cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 With a
report date of Monday, October 31. 2005. at 10:30 a.m., in Courtroom ‘l, ttth Floor of
the Federal Building, Nlemphis, TN.

The period from August 12, 2005 through l\|ovember 18, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need for a spe dy tr'a|.
ge
|T |S SO OFiDEFiED this f day of , 2005.

    
 
   

 

  

. o` NiEL BREEN
Nl ED sTATEs oisTnlcT JuDGE

Thls document entered on the docket sheet in compliance
with P.ule 55 andjor SZ{D) FHCrP on 3;§‘ 05

   

  

UNITED S`TATED"ISIC COUR - WESTERN D's'TRCT oFTENNESSEE

 
 

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This notice confirms a copy of the document docketed as number 18 in
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August 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

